         Case 1:18-cv-00104-LKG Document 40 Filed 02/12/21 Page 1 of 1




           In the United States Court of Federal Claims
                                                )
 STEVEN J. OLIVA,                               )
                                                )
                        Plaintiff,              )
                                                )             No. 18-104C
 v.                                             )
                                                )             Filed February 12, 2021
 THE UNITED STATES,                             )
                                                )
                        Defendant.              )
                                                )

                                     SCHEDULING ORDER

       On February 9, 2021, plaintiff filed a joint motion on behalf of the parties to amend the
Court’s September 2, 2020, Scheduling Order in the above-captioned breach of contract matter.
ECF No. 39. In the joint motion, plaintiff’s counsel represents that the parties require additional
time to complete expert discovery.

       In light of the foregoing, the Court GRANTS the parties’ joint motion to amend the
schedule for expert discovery and MODIFIES the Scheduling Order dated September 2, 2020,
as follows:

         Deadline for opening expert reports.                     April 5, 2021

         Deadline for any rebuttal expert reports.                May 3, 2021

         Close of all discovery.                                  May 24, 2021

         The parties shall FILE a joint status report
         advising the Court on the status of expert
         discovery and the parties’ respective views
         on how this matter should proceed,
         including a proposed schedule for the
         briefing of any dispositive motions.                     June 14, 2021

       IT IS SO ORDERED.


                                                             s/ Lydia Kay Griggsby
                                                             LYDIA KAY GRIGGSBY
                                                             Judge
